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 4
                              UNITED STATES DISTRICT COURT
 5
                             CENTRAL DISTRICT OF CALIFORNIA
 6                                     WESTERN DIVISION
 7

 8     MARTHA CABRERA,
                                                   Case No.: 2:18-cv-06860-RSWL-AFM
 9
                       Plaintiff and Counter-
10                     Defendant,
               vs.                    ORDER FOR DISMISSAL OF
11                                    COMPLAINT WITH PREJUDICE
12     CHASE BANK USA, N.A.; and DOES AND OF COUNTERCLAIMS
       1 through 10, inclusive,       WITHOUT PREJUDICE
13

14
                       Defendant and Counter-
                       Claimant.
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               Upon review of the parties’ Stipulation for Dismissal with Prejudice, and good

19
       cause appearing,

20
               IT IS ORDERED that the Stipulation is GRANTED.

21             The Complaint is hereby dismissed with prejudice. The Counterclaims are hereby

22     dismissed without prejudice. The parties to bear their own costs and attorneys’ fees.

23             IT IS SO ORDERED.

24

25     Dated: 12/14/2018
                                                 s/ RONALD S.W. LEW
26                                               HONORABLE RONALD S.W. LEW
27
                                                 UNITED STATES DISTRICT JUDGE
                                                 CENTRAL DISTRICT OF CALIFORNIA
28


                                                  -1-
                             [PROPOSED] ORDER FOR DISMISSAL WITH PREJUDICE
       LA 52209745v2
